 Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 1 of 24



TRANSCRIBED FROM DIGITAL RECORDING

              IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF CONNECTICUT

------------------------X
JAKUB MADEJ,
                Plaintiff,                   Docket No.:
                                             3:20-cv-133 (JCH)
           v.

YALE UNIVERSITY et al.,
                Defendants.
------------------------X


   ATTEMPTED VIDEOTAPED DEPOSITION OF KESHAV RAGHAVAN

HELD AT:                    280 Hudson St
                            New York, NY 10022

DATE:                       September 1, 2020
                            9:00 a.m.

APPEARANCES IN THE CASE:

For the Plaintiff:          Jakub J. Madej
                            LAWSHEET
                            415 Boston Post Rd, Suite 3-1102
                            Milford, CT 06460
                            (203) 928-8486

For the Defendants:         Patrick M. Noonan
                            DONAHUE, DURHAM & NOONAN P.C.
NOT PRESENT                 741 Boston Post Road, Suite 306
                            Guilford, CT 06437
                            (203) 458-9168
Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 2 of 24
                        I N D E X



                         E X H I B I T S


   PLAINTIFF’S             DESCRIPTION                  ADMITTED


   1                       Counsel Letter               P. 6

   2                       Subpoena                     P. 6

   3                       Email String                 P. 6

   4                       9/1/20 Email String          P. 6



   DEFENDANTS’             DESCRIPTION                  ADMITTED

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                       DEPOSITION TRANSCRIPT
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 3 of 24
 1     SECOND ATTEMPTED DEPOSITION OF KESHAV RAGHAVAN                     3



 2   NEW YORK, NEW YORK                           SEPTEMBER 1, 2020

 3

 4                  RECORDING STARTED AT 08:56 A.M.

 5

 6                          START AT 9:02 A.M.

 7             MR. MADEJ: Okay, we may begin. Good morning,

 8   this is to be a deposition of Keshav Raghavan, R-A-G-H-A-

 9   V-A-N, scheduled for 9:00 am on Monday, September 1,

10   2020. This is today. My name is Jakub Madej, and I

11   represent the plaintiff. The deponent is not here yet.

12   We’re going to wait some time to see if he appears.

13   Counsel indicated that he has no intention of appearing.

14   Nonetheless, we will proceed as noticed and give them

15   some time to appear. We will go off the record for the

16   next 15 minutes.

17

18                                9:15 A.M.

19             MR. MADEJ: Okay, let’s begin. This is to be the

20   Rule 30 deposition of Mr. Keshav Raghavan taken pursuant

21   to a subpoena issued under Rule 45 of the Federal Rules

22   of Civil Procedure in Civil Case Number 3:20-cv-00133




                  TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 4 of 24
 1     SECOND ATTEMPTED DEPOSITION OF KESHAV RAGHAVAN                     4



 2   styled Madej v. Yale University et al., pending in the

 3   United States District Court, District of Connecticut.

 4             It is now approximately 9:15 am on September 1,

 5   and the deponent has not appeared. In addition, counsel

 6   for the deponent is not here. No representative for Yale

 7   University has appeared, either. We will go off the

 8   record for 20 minutes to give them a little more time and

 9   see if they appear.

10

11

12                                9:40 A.M.

13             MR. MADEJ: It is now 9:40 am and the deponent

14   and his counsel have not appeared. I have contacted

15   counsel for Mr. Raghavan via email twice. I have received

16   no response. Before marking the exhibits, I will provide

17   a concise summary of what has happened in the days

18   leading up to this deposition.

19             My name is Jakub Madej. I am the deposing

20   counsel. A subpoena commanding Mr. Raghavan to appear and

21   testify on September 1, 2020 in New York, NY at 231

22   Hudson Street, New York, NY 10013. The deposition was




                  TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 5 of 24
 1     SECOND ATTEMPTED DEPOSITION OF KESHAV RAGHAVAN                     5



 2   scheduled to begin at 2:00 pm was served on Mr. Noonan on

 3   August 18, 2020. The deposition was scheduled to begin at

 4   9:00 am. Neither the witness nor the witness's attorney

 5   have appeared for the deposition. Counsel has not stated

 6   a reason for non-appearance or an explanation.

 7             I note for the record that this is the second

 8   time Mr. Raghavan has not appeared. The previous

 9   deposition was noticed for September – sorry -- August

10   17, 2020 for 2:00 pm, and the counsel has not appeared,

11   as did not Mr. Raghavan. And, similarly, they have nor

12   provided any reason for not appearing.

13             A notice was provided too to defendants’ counsel

14   Mr. Noonan, together with the subpoena, on August 18. Mr.

15   Raghavan was tendered all fees associated with his

16   appearance.

17             Defendant – um – counsel has stated that they

18   will not appear at the deposition without a reason. We

19   will provide them an additional 15 minutes to respond and

20   otherwise we will suspend the deposition. Let’s go off

21   the record.

22




                   TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 6 of 24
 1     SECOND ATTEMPTED DEPOSITION OF KESHAV RAGHAVAN                     6



2                                 9:55 A.M.

 3          (Conversation on the video without audio on)

 4

5                                 9:57 A.M.

 6             MR. MADEJ: Okay, we will take this again because

 7   the microphone didn’t work. We are back on the record and

 8   first, I would like to admit certain exhibits. Exhibit 1

 9   is the communication with counsel including the subpoena

10   and the notice of subpoena that commanded the witness to

11   appear today. Exhibit 2 is the subpoena commanding the

12   witness to appear. Exhibit 3 is all communication with

13   counsel regarding today’s deposition. And the Exhibit 4

14   is the written attempt to seek a notice of whether the

15   witness is appearing today and, if not, why. So all four

16   exhibits are hereby admitted.

17             This is the second deposition that we have

18   noticed for Mr. Raghavan. I waited now for an hour and

19   there is no indication that Mr. Raghavan will appear at

20   all. If there is a good cause for not appearing, it will

21   be for — up for Mr. Raghavan and his counsel to present

22   to the court in explanation for today’s failure to




                  TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 7 of 24
 1     SECOND ATTEMPTED DEPOSITION OF KESHAV RAGHAVAN                     7



 2   appear. Frankly, there hasn’t been any reasonable or

 3   legitimate explanation given to me or presented on the

 4   docket for not appearing. Mr. Raghavan is simply not here

 5   for a noticed deposition. It seems that defendants and

 6   defendants’ counsel are securing witness’s non-appearance

 7   because Mr. Raghavan himself likely has no reason or

 8   incentive not to comply with a court-issued subpoena.

 9             I have not received any response from Attorney

10   Noonan either via email or by telephone or by text this

11   morning regarding the reasons for not appearing. Mr.

12   Noonan simply stated yesterday that he will not appear

13   and did not provide any reason whatsoever. Thus I reserve

14   the right to notice the deposition for any —- for another

15   time and day, to move to compel the witness to appear,

16   and to seek sanctions, including civil contempt, to

17   ensure witness’s compliance. As well as entry of default

18   judgment. I reserve the rights to seek a reimbursement of

19   all fees incurred in this deposition. I further note that

20   a video recording of this deposition is available on file

21   for anyone who would like to confirm what was stated on

22   the record.




                   TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
     Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 8 of 24
1     SECOND ATTEMPTED DEPOSITION OF KESHAV RAGHAVAN                     8



2             It is now 10:00 am, and the deponent or counsel

3   have still not appeared. This deposition is now suspended

4   due to non-appearance. This will conclude today’s

5   transcript. Thank you everyone.

6

7            [WHEREUPON, THE DEPOSITION WAS SUSPENDED]

8                        CONCLUDED AT 10:01 AM.

9




                 TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
  Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 9 of 24
                                                                      9

                     C E R T I F I C A T E



     I, Jakub J. Madej, certify that the foregoing

transcript of the deposition in the case Madej v. Yale

University et al., Docket No. 3:20-cv-00133 is a true,

accurate and unedited record of the proceedings held on

September 1, 2020, to the best of my skill and ability.

     I further certify that a video recording of all

proceedings transcribed above is available on file.


                   Jakub   Digitally signed by
                           Jakub Madej

                   Madej   Date: 2020.09.01
Digital Signature __________________
                           11:38:05 -04'00'    Dated: 09/01/20



                          JAKUB J. MADEJ
                        415 Boston Post Rd
                        Milford, CT 06460
                          (203) 928-8486




              TRANSCRIPT OF THE VIDEOTAPED PROCEEDINGS
     Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 10 of 24 9/1/20 Deposition
                                                                                     3:20-cv-133 (JCH)

FACTSABOUTYALE.COM                                                                        Exhibit
NEW YORK   NEW HAVEN    LONG BEACH    MILFORD             Jakub J. Madej                    1
                                                          LAWSHEET
                                                          415 Boston Post Rd Ste 3 1102
                                                          Milford, CT 06460
                                                          T: (203) 928 8486
                                                          j.madej@lawsheet.com



VIA EMAIL
PNoonan@ddnctlaw.com                                      August 18, 2020

Patrick M. Noonan, Esq.
DONAHUE, DURHAM & NOONAN PC
741 Boston Post Road, Suite 306
Guilford, CT 06437
Telephone: (203) 458-9168


       RE:    Deposition of Keshav Raghavan Noticed for August 17
              Madej v. Yale University et al., Case No. 3:20-cv-00133-JCH (D. Conn.)

Dear Attorney Noonan:

       I write with regards to the deposition of Keshav Raghavan, which was noticed
for yesterday, August 17, 2020 (Monday) at 2:00 pm at 280 Hudson St in New York,
NY. Neither the witness nor the witness's attorney appeared for the deposition. The
deposition was suspended at 3:00 pm due to non-appearance.

      As you are well-aware, on August 3, 2020, the witness was personally served
with the subpoena commanding him to appear. You were also served with a notice of
subpoena by August 4, 2020. The court has not granted any relief as to Mr.
Raghavan’s deposition; nor has Mr. Raghavan sought any such relief. No application
for protective order has been filed at all. Neither the witness nor the witness's
attorney attempted to contact me to explain their absence.

      I contacted you at approximately 2:27 pm, via text message and email, to
confirm whether you were coming, but received no response. You sent me a separate
message at about 3:00 pm, stating that you will not be appearing but providing no
explanation.

      As I am sure you know, merely filing a motion to quash does not stay a
deposition. Barnes v. Madison, 79 Fed.Appx. 691, 707 (5th Cir.2003). See also Batt v.
Kimberly–Clark Corp., 438 F.Supp.2d 1315, 1317–18 (N.D.Okla.2006) (motion to
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 11 of 24



quash does not automatically stay a deposition); Sutherland v. Mesa Air Group, Inc.,
No. 98–10061–CIV2003, 2003 WL 21402549, at *5 and n. 10 (S.D.Fla. June 6, 2003)
(The filing of a motion for protective order alone would not have relieved counsel of
obligation to attend the depositions; the obligation to comply dissipates only when
court grants the motion.); Hepperle v. Johnston, 590 F.2d 609, 613 (5th Cir.1979)
(The court's inaction on plaintiff's motion for a protective order to postpone the taking
of his deposition did not relieve plaintiff of the duty to appear for deposition); Goodwin
v. City of Boston, 118 F.R.D. 297, 298 (D.Mass.1988) (Filing a motion to quash does
not automatically stay deposition. “[I]t is incumbent on counsel for movant to file a
motion to stay the deposition until the Court acts on motion to quash ... and to alert
the [court] to the need for immediate action ....”) (emphasis added).

      “[T]he party is obliged to appear until some order of the court excuses
attendance”. Stephen L. LaFrance Holdings, Inc. v. Sorensen, 278 F.R.D. 429, 436
(E.D. Ark. 2011). “[T]he burden is on the movant to obtain a ruling on a motion to
quash before cancelling a deposition”. Id. This line of cases assumes that the motion
to quash has potentially valid grounds on the basis of which a court might conclude
that quashing is appropriate. In this case, however, there were none.

       I attach a revised deposition subpoena and a notice of deposition that
reschedules Mr. Raghavan’s deposition for September 1, 2020 (Tuesday) at 9:00 am,
also in New York. I reserve the rights to seek sanctions, including under FRCP 30(d),
37(d), and 45(g), should the witness continue to disobey the subpoena. I will be
seeking reimbursement for all costs incurred.

      If you have any questions, please contact the undersigned at your convenience.

                                                Sincerely,


                                                ___________________________



cc:   Haley Kim (h.kim@lawsheet.com)
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 12 of 24



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 JAKUB MADEJ,
      Plaintiff,
                                                          Civil Action No.
        v.                                                3:20-cv-00133 (JCH)

 YALE UNIVERSITY et al.,                                  August 18, 2020
      Defendants.

     RENEWED NOTICE OF VIDEOTAPED DEPOSITION [FED. R. CIV. P. 45]

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
       PLEASE TAKE NOTICE that Plaintiff Jakub Madej intends to serve a subpoena on
Keshav Raghavan on August 18, 2020, or as soon thereafter as service may be effectuated. A
true copy of the subpoena is attached to this notice.



Dated: August 18, 2020                            Respectfully submitted,
         New York, NY                             By: /s/ Jakub Madej
                                                  Jakub J. Madej
                                                  LAWSHEET
                                                  415 Boston Post Rd Ste 3-1102
                                                  Milford, CT 06460
                                                  T: (203) 928-8486
                                                  F: (203) 902-0070
                                                  E: j.madej@lawsheet.com
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 13 of 24



                                CERTIFICATE OF SERVICE
        I certify that I sent a true and correct copy of the attached notice, together with all
attachments and exhibits, via email, on August 18, 2020, to the attorneys of record for all of the
parties in this action at the addresses listed below:
       Patrick M. Noonan, Esq.
       DONAHUE, DURHAM & NOONAN PC
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Telephone: (203) 245-1678
       Fax: (203) 458-4424




                                                             /s/ Jakub Madej
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 14 of 24




                                    Keshav Raghavan




231 Hudson Street, SoHo, New York, NY 10013                September 1, 2020, 9:00 am

                                          Videography




   Documents in your posession as of January 14, 2020 sufficient to prove that Committee on
   Honors and Academic Standing ("Committee") exists, as well as documents indicating how
   Committee on Honors and Academic Standing operates.




                                                                issued on Aug 18, 2020
                   Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 15 of 24

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
      Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 16 of 24 9/1/20 Deposition
                                                                                   3:20-cv-133 (JCH)


                                                                                         Exhibit
                                                                                           2




                                    Keshav Raghavan




231 Hudson Street, SoHo, New York, NY 10013                September 1, 2020, 9:00 am

                                          Videography




   Documents in your posession as of January 14, 2020 sufficient to prove that Committee on
   Honors and Academic Standing ("Committee") exists, as well as documents indicating how
   Committee on Honors and Academic Standing operates.




                                                                issued on Aug 18, 2020
                   Case 3:20-cv-00133-JCH Document 156-1 Filed 09/06/20 Page 17 of 24

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
9/1/2020                               Scary Fox Document
                     Case 3:20-cv-00133-JCH      Mail - Deposition156-1
                                                                   of K. Raghavan
                                                                             Filedin 09/06/20
                                                                                     Madej v. Yale Univ
                                                                                                    Pageet al. 18 of 24

                                                                                                                  9/1/20 Deposition
                                                                                                                  3:20-cv-133 (JCH)
                                                                                            Jakub Madej <j.madej@lawsheet.com>

                                                                                                                            Exhibit
                                                                                                                              3
  Deposition of K. Raghavan in Madej v. Yale Univ et al.
  9 messages

  Jakub Madej <j.madej@lawsheet.com>                                                                    Tue, Aug 18, 2020 at 3:14 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>
  Cc: h.kim@lawsheet.com

    Dear Patrick,

    Please find the letter attached.

    Regards,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
    Email: j.madej@lawsheet.com | Website: www.lawsheet.com
    Click to schedule a meet-and-confer

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           letter-renewed-notice-subpoena-k-raghavan.pdf
           1093K


  Jakub Madej <j.madej@lawsheet.com>                                                                   Wed, Aug 19, 2020 at 6:10 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    Pat,

    Your client has not appeared at a scheduled deposition. Could you state why Mr. Raghavan did not appear, so that I
    could submit his position to the court? Also please indicate whether Mr. Raghavan intends to appear on September 1, as
    commanded.

    Regards,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
    Email: j.madej@lawsheet.com | Website: www.lawsheet.com
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  Pat Noonan <PNoonan@ddnctlaw.com>                                                                   Wed, Aug 19, 2020 at 11:03 PM

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9/1/2020                               Scary Fox Document
                     Case 3:20-cv-00133-JCH      Mail - Deposition156-1
                                                                   of K. Raghavan
                                                                             Filedin 09/06/20
                                                                                     Madej v. Yale Univ
                                                                                                    Pageet al. 19 of 24
  To: Jakub Madej <j.madej@lawsheet.com>


    Hi Jakub,

              Neither I nor Mr. Raghavan will be appearing for a deposition in person on September 1 or at any other time. As
    I have told you before you mailed (not served) your notice of deposition to Mr. Raghavan, I will not participate in person in
    any deposition at this point in time in order to protect my health and that of my wife, who is immune-compromised. I have
    been struggling with a persistent respiratory illness for eight months, and it now appears that surgery is necessary. The
    surgery has not yet been scheduled, but is likely to be performed in the next two weeks. Therefore I can’t agree to a date
    at this point for any deposition. Furthermore, as you know, Mr. Raghavan has no information relevant to any claim or
    defense in this matter. He is a student member of CHAS who recused himself from this matter because he knows you.
    Accordingly, he did not participate in the discussions relating to your petition to have the involuntary withdrawal lifted.
    Since there is no reason to take his deposition, I object to you requiring him to set aside seven hours to answer
    questions which he is unable to answer.

             In addition to the foregoing, as Judge Hall previously observed and as I have informed you, it is customary to
    conduct document discovery before depositions are taken. This makes the deposition more focused. You have failed to
    fully comply with my discovery requests; and you have failed to comply at all with your obligation to provide the Initial
    Disclosures in this case. I object to scheduling any deposition until you have fully complied with your all of your discovery
    obligations. Please let me know when you plan to fully comply, and then we can discuss a deposition schedule (including
    your deposition) by Zoom.

               Pat

    Patrick M. Noonan

    Donahue, Durham & Noonan, P.C.

    741 Boston Post Road

    Guilford, CT 06437

    (203)457-5209(direct)

    (203)314-4562(cell)

    (203)458-9168(office)




    From: Jakub Madej <j.madej@lawsheet.com>
    Sent: Tuesday, August 18, 2020 3:14 PM
    To: Pat Noonan <PNoonan@ddnctlaw.com>
    Cc: h.kim@lawsheet.com
    Subject: Deposition of K. Raghavan in Madej v. Yale Univ et al.



    Dear Patrick,



    Please find the letter attached.



    Regards,

    Jakub



    --

    Jakub Madej
https://mail.google.com/mail/u/0?ik=defacd363b&view=pt&search=all&permthid=thread-a%3Ar7843215832244233988&simpl=msg-f%3A1675391706…   2/6
9/1/2020                               Scary Fox Document
                     Case 3:20-cv-00133-JCH      Mail - Deposition156-1
                                                                   of K. Raghavan
                                                                             Filedin 09/06/20
                                                                                     Madej v. Yale Univ
                                                                                                    Pageet al. 20 of 24

    1700 Santa Fe Avenue #845 | Long Beach, CA 90813

    415 Boston Post Rd 3-1102 | Milford, CT 06460

    Phone: (203) 928-8486 | Fax: (203) 902-0070

    Email: j.madej@lawsheet.com | Website: www.lawsheet.com

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       https://mailtrack.io/trace/mail/32d1832165fec16663e3ddcfb640dc079ece5f0d.png?u=5443229



  Jakub Madej <j.madej@lawsheet.com>                                                                  Wed, Aug 19, 2020 at 11:59 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    If Mr. Raghavan furnishes an affidavit certifying that he has never attended any meetings of the Committee, I will be
    more likely to forego his deposition and only seek reimbursement for fees incurred at the no-show deposition last
    Monday.

    Best,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
    Email: j.madej@lawsheet.com | Website: www.lawsheet.com
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  Jakub Madej <j.madej@lawsheet.com>                                                                   Mon, Aug 24, 2020 at 1:24 PM
  To: Pat Noonan <PNoonan@ddnctlaw.com>
  Cc: Haley Kim <haley.kim@lawsheet.com>

    Dear Patrick,

    For the record, please be advised of the following in regards to your previous email:

    1. Mr. Raghavan will be deposed precisely to learn what he knows, and what he does not know. Facially, his role was
    relevant within the meaning of Rule 26. Your unilateral declarations of professed 'lack of knowledge' are unhelpful and
    worthless; unless supported by Mr. Raghavan's affidavit, I will disregard these statements. If Mr. Raghavan furnishes an
    affidavit certifying that he has never attended any meetings of the Committee, I will be more likely to forego his deposition
    and only seek reimbursement for fees incurred at the no-show deposition last Monday.

    2. If Mr. Raghavan fails to appear without an earlier agreement or the Court's ruling, and so does one other party whose
    deposition was properly noticed, I will simply seek an entry of default judgment. I expect you and Mr. Raghavan on
    September 1, as provided in the deposition notice. As I stated in the letter you previously received, I am happy to
    reschedule this deposition for another date the same week. I have never received a response to this letter from you. I
    can only interpret your statements about health problems as implausible excuses after securing a witness's
    noncompliance.
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                      Case 3:20-cv-00133-JCH      Mail - Deposition156-1
                                                                    of K. Raghavan
                                                                              Filedin 09/06/20
                                                                                      Madej v. Yale Univ
                                                                                                     Pageet al. 21 of 24


    3. I am sympathetic to all personal issues you may be experiencing. I trust that, to the extent they impact this case,
    you will be able to suggest a reasonable alternative for every obligation you seek to modify. Otherwise, I prefer not to,
    and will not, dwell into your private life. I ask that you do the same.

    4. All other discovery obligations from my client's side were fully complied with. Please note that in April you
    requested all information that would be included in initial disclosures via interrogatories. You were served responses
    under oath. If you wish to receive separate initial disclosures, I will ensure you receive them within a week.

    I appreciate your comments as to how discovery is conducted. Please rest assured that I am thankful for your advice.

    Best,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
    Email: j.madej@lawsheet.com | Website: www.lawsheet.com
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    On Wed, Aug 19, 2020 at 11:03 PM Pat Noonan <PNoonan@ddnctlaw.com> wrote:
    [Quoted text hidden]



  Pat Noonan <PNoonan@ddnctlaw.com>                                                                     Mon, Aug 24, 2020 at 4:00 PM
  To: Jakub Madej <j.madej@lawsheet.com>


    Hi Jakub,

             Thanks for the offer to comply with the Initial Disclosures. I look forward to getting them within a week. As to
    the deposition of Mr. Raghavan, I don’t think further communication on that issue will be productive at this time. It is clear
    that we are not in agreement. As I told you earlier, we will await Judge Hall’s ruling on that issue.

                Pat



    Please be advised that I will be intermi ently working from home. My cell phone number is 203-314-4562.
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  Jakub Madej <j.madej@lawsheet.com>                                                                    Mon, Aug 31, 2020 at 3:14 AM
  To: Pat Noonan <PNoonan@ddnctlaw.com>
  Cc: Haley Kim <haley.kim@lawsheet.com>

    Dear Patrick,


https://mail.google.com/mail/u/0?ik=defacd363b&view=pt&search=all&permthid=thread-a%3Ar7843215832244233988&simpl=msg-f%3A1675391706…   4/6
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                      Case 3:20-cv-00133-JCH      Mail - Deposition156-1
                                                                    of K. Raghavan
                                                                              Filedin 09/06/20
                                                                                      Madej v. Yale Univ
                                                                                                     Pageet al. 22 of 24
    As you know, Mr. Raghavan has an obligation to comply with the subpoena and appear for the deposition scheduled for
    September 1. Yale's motion is, again, a nullity. No legal argument was presented in support of Yale's request. Even if
    such an argument was offered, it is well settled that Yale does not have standing to make it.

    Noticing Mr. Raghavan's deposition for the first time, I offered alternative dates for his convenience. I indicated my
    willingness to depose Mr. Raghavan closer to his residence, and not in New York. After Mr. Raghavan did not show up as
    requested without any allowable excuse or prior communication, I again indicated my flexibility and suggested
    alternative times for the deposition. I also wrote to you that an affidavit by Mr. Raghavan certifying the alleged facts in
    dispute might eliminate the need for a deposition altogether. Unfortunately, Mr. Raghavan -- relying on your counsel --
    failed to take advantage of any of these options. In fact, neither Mr. Raghavan nor you, claiming to be representing
    him, responded to these good faith attempts to eliminate all issues that might stop the deposition from proceeding. I
    interpret this conduct solely as a desperate attempt to avoid confronting a witness with the "facts" that Yale asserts,
    without the benefit of sworn testimony.

    In other words, I respectfully decline to continue this formidable cat-and-mouse discovery game. I will be expecting
    Mr. Raghavan at the time noticed by the subpoena.

    Regards,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
    Email: j.madej@lawsheet.com | Website: www.lawsheet.com
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  Pat Noonan <PNoonan@ddnctlaw.com>                                                                    Mon, Aug 31, 2020 at 12:48 PM
  To: Jakub Madej <j.madej@lawsheet.com>


    Hi Jakub,

               To reiterate, neither Mr. Raghavan nor any other witness will appear for a deposition until Judge Hall has ruled.

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                                                                   of K. Raghavan
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                                                                                     Madej v. Yale Univ
                                                                                                    Pageet al. 23 of 24




  Jakub Madej <j.madej@lawsheet.com>                                                                     Tue, Sep 1, 2020 at 7:59 AM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    I entirely reject the notion that you or Mr. Raghavan have any right not to appear today. The deposition will commence
    in 30 minutes. I am expecting everyone to be here. My phone number is (203) 928-8486, if you can't find me.

    Regards,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
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                     Case 3:20-cv-00133-JCH      Mail - Deposition156-1
                                                                   of Mr. Keshav Raghavan
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                                                                                    09/06/20       Page am 24 of 24
                                                                                                                 9/1/20 Deposition
                                                                                                                 3:20-cv-133 (JCH)
                                                                                           Jakub Madej <j.madej@lawsheet.com>

                                                                                                                            Exhibit
                                                                                                                              4
  Deposition of Mr. Keshav Raghavan today at 9:00 am
  2 messages

  Jakub Madej <j.madej@lawsheet.com>                                                                     Tue, Sep 1, 2020 at 9:11 AM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    Dear Patrick,

    Mr. Keshav Raghavan is being deposed today at 9:00 am. The deposition started more than 10 minutes ago.
    Unfortunately, he is not here, and neither are you, or any other representative for the Defendants. Are you on the
    way? I acknowledge that you previously represented to me that the witness would not appear 'at any time'. As you
    know, the court has not granted any relief allowing the witness not to appear, and I expect everyone to be present.

    Sincerely,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
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  Jakub Madej <j.madej@lawsheet.com>                                                                     Tue, Sep 1, 2020 at 9:39 AM
  To: Pat Noonan <PNoonan@ddnctlaw.com>

    Dear Patrick,

    Is Mr. Raghavan appearing for his deposition? It started 40 minutes ago, and he is not here. You previously stated that
    you represent Mr. Raghavan but you are not here, either.

    Please call me at (203) 928-8486 or my assistant Haley at (646) 776-0066 as soon as possible. If you need some
    additional time to arrive, notify me immediately.

    Otherwise, the deposition will be suspended at 10:00 am due to non-appearance.

    Regards,
    Jakub

    --
    Jakub Madej
    1700 Santa Fe Avenue #845 | Long Beach, CA 90813
    415 Boston Post Rd 3-1102 | Milford, CT 06460
    Phone: (203) 928-8486 | Fax: (203) 902-0070
    Email: j.madej@lawsheet.com | Website: www.lawsheet.com
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